         Case: 1:12-cv-07711 Document #: 1 Filed: 09/26/12 Page 1 of 6 PageID #:1




                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION



NICOLE LINCOLN,                                   Civil Action No.
     Plaintiff,

vs.                                               COMPLAINT AND
                                                  DEMAND FOR JURY TRIAL
GC SERVICES, LP; and DOES 1
through 10, inclusive,
      Defendant.



                                            COMPLAINT

                                          I. INTRODUCTION

      1. This is an action for actual and statutory damages brought by Plaintiff, Nicole Lincoln, an

         individual consumer, against Defendant, GC Services, LP, for violations of the Fair Debt

         Collection Practices Act, 15 U.S.C. § 1692 et seq. (hereinafter ‘‘FDCPA’’), which

         prohibits debt collectors from engaging in abusive, deceptive, and unfair practices.

                                           II. JURISDICTION

      2. Jurisdiction of this court arises under 15 U.S.C. § 1692k(d) and 28 U.S.C. § 1337.

         Declaratory relief is available pursuant to 28 U.S.C. §§ 2201 and 2202. Venue in this

         District is proper in that the Defendant transacts business here.

                                               III. PARTIES

      3. Plaintiff, Nicole Lincoln, is a natural person with a permanent residence in Plainfield,

         Will County, Illinois 60586.

      4. Upon information and belief the Defendant, GC Services, LP, is a corporation engaged in

         the business of collecting debt in this state and in several other states, with its principal

                                                    1
   Case: 1:12-cv-07711 Document #: 1 Filed: 09/26/12 Page 2 of 6 PageID #:2




   place of business located at 6330 Gulfton St, Suite 300, Houston, Harris County, Texas

   77081. The principal purpose of Defendant is the collection of debts in this state and

   several other states, and Defendant regularly attempts to collect debts alleged to be due

   another.

5. Defendant is engaged in the collection of debts from consumers using the mail and

   telephone. Defendant regularly attempts to collect consumer debts alleged to be due to

   another. Defendant is a ‘‘debt collector’’ as defined by the FDCPA, 15 U.S.C. §

   1692a(6).

                               IV. FACTUAL ALLEGATIONS

6. The debt Defendant is attempting to collect on is an alleged obligation of a consumer to pay

   money arising out of a transaction in which the money, property, insurance or services which

   are the subject of the transaction are primarily for personal, family, or household purposes,

   whether or not such obligation has been reduced to judgment.

7. Within one (1) year preceding the date of this Complaint, Defendant, in connection with the

   collection of the alleged debt, communicated with Plaintiff’s co-worker, who is not a co-

   signer on the alleged debt, and the communication was not in a manner covered by §1692b

   of the FDCPA.

8. Within one (1) year preceding the date of this Complaint, Defendant, in connection with the

   collection of the alleged debt, attempted to communicate with Plaintiff at his place of

   employment after being informed that Plaintiff’s employer does not allow such

   communication.

9. Within one (1) year preceding the date of this Complaint, Defendant, in connection with the

   collection of the alleged debt, contact Plaintiff and threatened to garnish Plaintiff’s wages.




                                               2
   Case: 1:12-cv-07711 Document #: 1 Filed: 09/26/12 Page 3 of 6 PageID #:3




10. Defendant has no standing to commence garnishment proceedings on behalf of the

   creditor.

11. Defendant is a debt collection company and as a debt collection company attempting to

   collection an alleged debt, Defendant can only refer the matter back to the creditor with a

   recommendation that the original creditor attempt legal proceedings which could result in

   garnishment.

12. The representations made to Plaintiff by Defendant regarding garnishment were false.

13. Within one (1) year preceding the date of this Complaint and during the first thirty (30) days

   of communicating with Plaintiff, Defendant, in connection with the collection of the alleged

   debt, demanded payment on the alleged debt and thereby overshadowed the Plaintiff’s right

   to dispute the validity of the debt.

14. The natural consequences of Defendant’s statements and actions was to unjustly condemn

   and vilify Plaintiff for her non-payment of the debt she allegedly owed.

15. The natural consequences of Defendant’s statements and actions was to produce an

   unpleasant and/or hostile situation between Defendant and Plaintiff.

16. The natural consequences of Defendant’s statements and actions was to cause Plaintiff

   mental distress.

17. Defendant utilized unfair and unconscionable means to collect on Plaintiff’s alleged debt,

   by lying to and misleading Plaintiff.

                                   V. CLAIM FOR RELIEF

18. Plaintiff repeats and realleges and incorporates by reference to the foregoing paragraphs.

19. Defendants violated the FDCPA. Defendants’ violations include, but are not limited to,

   the following:




                                               3
Case: 1:12-cv-07711 Document #: 1 Filed: 09/26/12 Page 4 of 6 PageID #:4




       (a) Defendant violated §1692b(2) of the FDCPA by telling a third party that the

          Plaintiff owes an alleged debt; and

       (b) Defendant violated §1692c(a)(1) of the FDCPA by communicating at a time

          or place known or which should be known to be inconvenient to the Plaintiff;

          and

       (c) Defendant violated §1692c(a)(3) of the FDCPA by communicating with the

          Plaintiff at the Plaintiff’s place of employment when the Defendant knew or

          had reason to know that the Plaintiff’s employer prohibits the Plaintiff from

          receiving such communication; and

       (d) Defendant violated §1692c(b) of the FDCPA by contacting a third party in

          connection with the collection of the alleged debt without the consent of the

          Plaintiff and the contact was not in a manner covered by §1692b of the

          FDCPA; and

       (e) Defendant violated §1692d of the FDCPA by engaging in conduct the natural

          consequences of which is to harass, oppress, or abuse any person in

          connection with the collection of an alleged debt; and

       (f) Defendant violated §1692e of the FDCPA by using a false, deceptive, or

          misleading representation or means in connection with the collection of the

          alleged debt; and

       (g) Defendant violated §1692e(4) of the FDCPA by giving the false

          representation or implication that nonpayment of the alleged debt will result in

          the garnishment of wages of any person when such action is unlawful and the

          Defendant does not intend to take such action; and



                                       4
      Case: 1:12-cv-07711 Document #: 1 Filed: 09/26/12 Page 5 of 6 PageID #:5




               (h) Defendant violated §1692e(5) of the FDCPA by threatening to take action that

                   the Defendant does not intend to take and/or the Defendant cannot legally

                   take; and

               (i) Defendant violated §1692e(10) of the FDCPA by using false representation or

                   deceptive means in connection with the collection the alleged debt; and

               (j) Defendant violated §1692f of the FDCPA by using unfair or unconscionable

                   means in connection with the collection of an alleged debt; and

               (k) Defendant violated §1692g(b) of the FDCPA by overshadowing or being

                   inconsistent with the disclosure of the consumer’s rights to dispute the debt or

                   request the name and address of the original creditor.


   20. Defendant’s acts as described above were done intentionally with the purpose of coercing

       Plaintiff to pay the alleged debt.

   21. As a result of the foregoing violations of the FDCPA, Defendant is liable to the Plaintiff,

       Nicole Lincoln, for declaratory judgment that Defendant’s conduct violated the FDCPA,

       actual damages, statutory damages, and costs and attorney fees.



WHEREFORE, Plaintiff respectfully requests that judgment be entered against Defendant, GC

Services, LP, for the following:

   A. Declaratory judgment that Defendant’s conduct violated the FDCPA.

   B. Actual damages.

   C. Statutory damages pursuant to 15 U.S.C. § 1692k.

   D. Costs and reasonable attorney fees pursuant to 15 U.S.C. § 1692k.


                                                5
       Case: 1:12-cv-07711 Document #: 1 Filed: 09/26/12 Page 6 of 6 PageID #:6




   E. Awarding Plaintiff any pre-judgment and post-judgment interest as may be allowed under

       the law.

   F. For such other and further relief as the Court may deem just and proper.

                                 DEMAND FOR JURY TRIAL

Please take notice that Plaintiff, Nicole Lincoln, demands trial by jury in this action.

DATED: September 26, 2012

                                                      RESPECTFULLY SUBMITTED,
                                                      By: /s/ Peter Cozmyk
                                                      Peter Cozmyk, Esq.
                                                      (OBN: 0078862)
                                                      Cozmyk Law Offices, LLC
                                                      6100 Oak Tree Blvd.
                                                      Suite 200, Room #209
                                                      Independence, OH 44131
                                                      pcozmyk@hotmail.com
                                                      P: 440-292-7672

                                                      Attorney for Plaintiff,
                                                      Nicole Lincoln




                                                  6
